Case 1:05-cr-10048-.]DT Document 7 Filed 07/12/05 Page 1 of 2 Page|D 13

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IN THE UNITED sTATEs DIsTRIcT coURT E b BY
FoR THE wEsTERN DISTRICT oF TENNESSEE "--_._`_
EASTERN DIVISION JUL 1 2 2005
Th°"‘°‘ M- G°u'd, clark
UNITED sTATEs oF AMERICA U.s.m.m.,,¢m
W- D. OF TN, Jackson

VS. CR NO 05~lOO4B-OlaT

EDD SHERROD SCARBROUGH

ORDER ON GUILT`Y' PLEA

This cause came on to be heard on July 6, 2005, Assistant: U.

S. Attorney Victor Lee Ivy, representing the government, and the

defendant appeared in person and with counsel, C. Mark Donahoe, who

was retained.

Upon arraignment, the defendant through counsel, entered a

plea of GUILTY as charged in the One Count Information.

This case is set for sentencing on Wednessda§[c 0ctober 5l 2005l

at 8:30 a.m. The defendant is allowed to remain on his present

bond.

IT IS SO ORDERED.

A/M/)D ‘ 56 z
JAMES . TODD
UNI'I' STATE DISTRICT JUDGE

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with Rule 55 and/or 32[5) pnch on _ _ _ nigean

 

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C. Mark Donahoe

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Victor Lee Ivy

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

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Honorable J ames Todd
US DISTRICT COURT

